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                        UNITED STATES DISTRICT COURT
                                  FOR THE
                          DISTRICT OF CONNECTICUT

                                                 )
ZACHARY EDMONDS,                                 )
         Plaintiff,                              )
                                                 )
v.                                               ) C. A. No.: 3:16-cv-01166 JAM
                                                 )
BLUESTEM BRANDS, INC. D/B/A                      )
FINGERHUT,                                       ) April 12, 2018
           Defendant.                            )

                              STIPULATION TO DISMISS

TO THE CLERK:

       Pursuant to Rule 41(a)(1)(A)(ii), counsel for all parties hereto stipulate to the

dismissal with prejudice and without cost to either party.

                                              Respectfully submitted,

                                              PLAINTIFF, ZACHARY EDMONDS

                                              By /s/ Angela K. Troccoli
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                                              DEFENDANT, BLUESTEM BRANDS,
                                              INC. D/B/A FINGERHUT,

                                              By /s/ Howard Fetner
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                                      BY THE COURT:


                                      _________________________
                                      J.




                                      CERTIFICATION

       I hereby certify that on April 12, 2018, the foregoing was filed electronically and

served by mail on anyone unable to accept electronic filing. Notice of this filing will be

sent by email to all parties by operation of the court’s electronic filing system or by mail

to anyone unable to accept electronic filing as indicated on the Notice of Electronic

Filing. Parties may access this document through the court’s CM/ECF System.



                                              /s/ Angela K. Troccoli
                                              Angela K. Troccoli, Esquire




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